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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


Frank Gallo, et al.,

             Plaintiff,                        Case No. 21-10549

      vs.                                      HON. DENISE PAGE HOOD

TCF Financial Corporation, et al.,

             Defendant.
                                           /


                             ORDER DISMISSING CASE

      Plaintiff filed a Notice of Voluntary Dismissal on March 12, 2021, pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(i). Accordingly,

      IT IS ORDERED that this action is DISMISSED without prejudice under Fed.

R. Civ. P. 41(a)(1)(A)(i).


                                               s/Denise Page Hood
                                               United States District Judge

DATED: March 16, 2021
